Case 7:21-cv-05052-KMK Document 1-4 Filed 06/08/21 Page 1 of 4




           EXHIBIT D
FILED: ORANGE COUNTY CLERK 05/10/2021 04:10 PM                                                     INDEX NO. EF005099-2020
NYSCEF DOC. NO. 38Case 7:21-cv-05052-KMK Document 1-4 Filed 06/08/21 Page 2 of 4NYSCEF: 05/10/2021
                                                                     RECEIVED




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF ORANGE
          -------------------------------------------------------------------X
          RITA INTRIAGO,
                                                                                 Index No.: 005099/2020
                                             Plaintiff,
                                                                                 SUPPLEMENTAL RESPONSE
                                    -against -                                   TO CERTIFICATION BY
                                                                                 ATTORNEY PURSUANT
                                                                                 TO RULE 130-1.1-A

          BEST BUY (STORE #461), BEST BUY CO., INC., and
          MIDDLETOWN CRYSTAL ROUTE 17, LLC.,

                                              Defendants.
          ------------------------------------------------------------------X



          Plaintiff, RITA INTRIAGO, by her attorneys, SOBO & SOBO, L.L.P., as and for the response to

          Defendant’s Combined Demands, herein allege the following:



                              SUPPLEMENTAL RESPONSE TO DEMAND FOR DAMAGES

                  The Plaintiff hereby deems herself entitled to an amount of one million dollars.

          ($1,000,000). Pursuant to the C.P.L.R., the Plaintiff reserves the right to supplement and amend

          this response as additional information becomes available regarding the extent of the injuries

          sustained, the recovery of the Plaintiff and the potential expert analysis of the injuries sustained as

          a result of the Defendants’ negligence.


          Dated: May 10, 2021
                 Middletown, New York




                                                                        Respectfully,




                                                               1 of 3
FILED: ORANGE COUNTY CLERK 05/10/2021 04:10 PM                               INDEX NO. EF005099-2020
NYSCEF DOC. NO. 38Case 7:21-cv-05052-KMK Document 1-4 Filed 06/08/21 Page 3 of 4NYSCEF: 05/10/2021
                                                                     RECEIVED




                                                       SOBO & SOBO L.L.P.


                                                       __________________________
                                                       By: Dario DiLello, Esq.
                                                       Attorneys for Plaintiff
                                                       One Dolson Avenue
                                                       Middletown, New York 10940
                                                       (845) 343-0466

          TO:   FISHMAN, MCINTYRE, BERKELEY, LEVINE,
                SAMANSKY, PC.
                Attorney for Defendant
                BEST BUY CO., INC.
                521 Fifth Avenue, 17th Floor
                New York, New York 10175
                (212) 461-7190

          CC:   MARSHALL DENNEHEY WARNER COLEMAN & GOGGIN
                Attorney for Defendant
                MIDDLETOWN CRYSTAL ROUTE 17, LLC
                287 Bowman Avenue Suite 404
                Purchase, New York 10577
                (914) 977-7316




                                              2 of 3
FILED: ORANGE COUNTY CLERK 05/10/2021 04:10 PM                                                 INDEX NO. EF005099-2020
NYSCEF DOC. NO. 38Case 7:21-cv-05052-KMK Document 1-4 Filed 06/08/21 Page 4 of 4NYSCEF: 05/10/2021
                                                                     RECEIVED




           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF ORANGE
           RITA INTRIAGO,

                                    Plaintiff,
                                                                            AFFIDAVIT OF SERVICE
                   -against-
                                                                            Index No.: 005099/2020
           BEST BUY (STORE #461), BEST BUY CO., INC.,
           and MIDDLETOWN CRYSTAL ROUTE 17, LLC.,

                          Defendants.
          STATE OF NEW YORK    )
          COUNTY OF ORANGE     )

                 Mikail Printemps , being duly sworn, deposes and says:

                 I am over 18 years of age, I am not a party to this action, and I work in Middletown, New York.

          On May 10, 2021, I served a true copy of the annexed:

          SUPPLEMENTAL RESPONSE TO CERTIFICATION BYATTORNEY PURSUANT TO
          RULE 130-1.1-A

          By mailing the same in a sealed envelope, with postage prepaid thereon, in a post-office or official
          depository of the U.S. Postal Service within the State of New York, addressed to the last known address
          of the addressee(s) as indicated below:


          FISHMAN, MCINTYRE, BERKELEY, LEVINE,
          SAMANSKY, PC.
          Attorney for Defendant
          BEST BUY CO., INC.
          521 Fifth Avenue, 17th Floor
          New York, New York 10175
          (212) 461-7190




          Sworn to before me this

          10th day of May 2021.




                                                         3 of 3
